   Case: 1:24-cv-00607 Document #: 177 Filed: 02/06/25 Page 1 of 2 PageID #:1724




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                              Plaintiff,                   Case No.: 1:24-cv-00607

       vs.

THE INDIVIDUALS, CORPORATIONS, LIMITED                     Judge Lindsay C. Jenkins
LIABILITY COMPANIES, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

                              Defendants.



  PARTIES’ JOINT MOTION FOR ENTRY OF A STIPULATED FINAL JUDGMENT
                       AND INJUNCTION ORDER

       Plaintiff Roadget Business Pte. Ltd. (“Roadget”) and Defendant Shahe Xiameng Clothing

Store d/b/a focus queen (Defendant No. 9), by and through its respective counsel, move this

court for entry of a stipulated final judgment and injunction order. The Parties have met and

conferred, and have agreed to the terms of the proposed stipulated final judgment and injunction

order attached hereto as Exhibit A as a resolution to this case. The Proposed Stipulated Final

Judgment and Injunction Order has also been submitted to

Proposed_Order_Jenkins@ilnd.uscourts.gov in accordance with Judge Jenkins’s procedure.
   Case: 1:24-cv-00607 Document #: 177 Filed: 02/06/25 Page 2 of 2 PageID #:1725




Dated: February 6, 2025                      Respectfully submitted,

/s/                                             /s/
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